                Case: 1:19-cv-07974
ILND 450 (Rev. 04/29/2016)                      Document
                           Judgment in a Civil Action      #: 19 Filed: 05/12/20 Page 1 of 1 PageID #:171

                                   IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF ILLINOIS

Republic Technologies (NA), LLC et al
Plaintiff(s),
                                                                   Case No. 19 C 7974
v.                                                                 Judge

Sam 1, Inc. et al
Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

         ✔       in favor of plaintiff(s) Republic Technologies (NA), LLC et alLL
                 and against defendant(s) Sam 1, Inc. et al
                 in the amount of $ 21,014.55

                          which       includes       pre–judgment interest.
                                    ✔ does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)

         Defendant(s) shall recover costs from plaintiff(s).


                 other:




This action was (check one):

     tried by a jury with Judge                                       presiding, and the jury has rendered a verdict.
     tried by Judge                                        without a jury and the above decision was reached.
 ✔   decided by Judge                                        on a motion



Date: 5/12/2020                                      Thomas G. Bruton, Clerk of Court

                                                                                   , Deputy Clerk
